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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                               :
                                     : Case No.: 17-18174
Ida L. Johnson                       : Chapter 13
                                     : Judge Jean K. FitzSimon
       Debtor(s).                    : *******************

                     OBJECTION TO DEBTOR'S CHAPTER 13 PLAN

       Now comes LSF9 Master Participation Trust ("Creditor"), by and through its mortgage

servicing agent Caliber Home Loans, Inc., by and through its attorneys, Manley Deas Kochalski

LLC, and files this Objection to Debtor's Chapter 13 Plan, averring as follows:

1.     Creditor is a creditor herein secured by a first mortgage lien upon the Debtor's real estate

       located at 7534 Gilbert Street, Philadelphia, PA 19150.

2.     Debtor's Plan fails to address that the note underlying Creditor's mortgage lien has

       matured. Creditor requests that Debtor's Plan be amended to provide for Creditor's total

       debt claim to be paid through the plan. Creditor's mortgage lien has a current payoff

       amount of approximately $23,051.88. Creditor further requests that Debtor's Plan

       include a provision requiring Debtor to obtain a payoff quote from Creditor before the

       last payment under the note is made to ensure the total amount of the loan is paid in full.

3.      Creditor objects to said treatment and asserts that, as of the petition date herein,

       Creditor's claim was fully secured by value in the real estate. Accordingly, § 1322(b)(2)

       of the Bankruptcy Code and the United States Supreme Court's holding in Nobleman v.

       American Savings Bank (In re: Nobleman), 508 U.S. 324 (1993) prohibit the Debtor's

       proposed modification of Creditor's mortgage.




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       WHEREFORE, Creditor respectfully requests the Court to deny confirmation of the

Debtor's proposed Chapter 13 Plan.

                                                 Respectfully submitted,

                                                  /s/ Karina Velter
                                                 Karina Velter, Esquire (94781)
                                                 Kimberly A. Bonner (89705)
                                                 Adam B. Hall (323867)
                                                 Sarah E. Barngrover (323972)
                                                 Manley Deas Kochalski LLC
                                                 P.O. Box 165028
                                                 Columbus, OH 43216-5028
                                                 Telephone: 614-220-5611
                                                 Fax: 614-627-8181
                                                 Attorneys for Creditor
                                                 The case attorney for this file is Karina
                                                 Velter.
                                                 Contact email is kvelter@manleydeas.com




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                   IN THE UNITED STATES BANKRUPTCY COURT
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In re:                               :
                                     : Case No.: 17-18174
Ida L. Johnson                       : Chapter 13
                                     : Judge Jean K. FitzSimon
       Debtor(s).                    : *******************

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Objection to Debtor's

Chapter 13 Plan was served on the parties listed below via e-mail notification:

   United States Trustee, Office of the U.S. Trustee, 833 Chestnut Street, Suite 500,
   Philadelphia, PA 19107

   Frederick L. Reigle, Chapter 13 Trustee, Chapter 13 Trustee, 2901 St. Lawrence Ave.,
   Reading, PA 19606

   Michael A. Cibik, Attorney for Ida L. Johnson, 1500 Walnut Street, Suite 900, Philadelphia,
   PA 19102, ecf@ccpclaw.com


The below listed parties were served via regular U.S. Mail, postage prepaid, on January ___,
                                                                                         23
2018:

   Ida L. Johnson and Esther Hale, 7534 Gilbert Street, Philadelphia, PA 19150



       1/23/18
DATE: _______________                               _______
                                                     /s/ Karina Velter
                                                    Karina Velter, Esquire (94781)
                                                    Kimberly A. Bonner (89705)
                                                    Adam B. Hall (323867)
                                                    Sarah E. Barngrover (323972)
                                                    Manley Deas Kochalski LLC
                                                    P.O. Box 165028
                                                    Columbus, OH 43216-5028
                                                    Telephone: 614-220-5611
                                                    Fax: 614-627-8181
                                                    Attorneys for Creditor
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                                                    Velter.
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